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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                )
CENTRO PRESENTE, a membership organization;     )
HAITIAN-AMERICANS UNITED, INC., a membership    )
organization; JUAN CARLOS VIDAL; ANNE CHRISTINE )
NICOLAS; CHRIS JEAN BAPTISTE; MERCEDES          )
MATA; CAROLINA MATA; WILL ARIAS; JUAN           )
AMAYA; MARIA GUERRA; JOSUE DORFEUILLE;          )
NATACHA DORFEUILLE; YESY PATRICIA               )
CARBAJAL; JUAN GUERRERO; JAIME YANES; and       )
JOSE OMAR RODRIGUEZ VARELA,                     )
                                                        )            No. 1:18-cv-10340-DJC
                       Plaintiffs,
                                                        )
v.                                                      )
                                                        )
DONALD J. TRUMP, President of the United States in his )
official capacity; UNITED STATES DEPARTMENT OF          )
HOMELAND SECURITY; KIRSTJEN NIELSEN, Secretary )
of the Department of Homeland Security in her official  )
capacity; and ELAINE COSTANZO DUKE, Deputy              )
Secretary of the Department of Homeland Security in her )
official capacity,                                      )
                                                        )
                      Defendants.                       )



JOINT STATEMENT OF THE PARTIES PURSUANT TO LOCAL RULE 16.1(D)
       The parties in this action submit the following in accordance with Local Rule 16.1 and

the Court’s July 27, 2018 Notice of Scheduling Conference, ECF 48.

I.     Joint Proposed Schedule

       A.      Initial Disclosures

       If required, see part VII infra, the parties will serve initial disclosures on or before

September 21, 2018.
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       B.      Joinder of Additional Parties and Amendments to Pleadings

       Except for good cause shown, no motions seeking leave to add new parties or to amend

the pleadings to assert new claims or defenses may be filed after October 10, 2018.

       C.      Fact Discovery

       Fact discovery will be completed by April 19, 2019. No written discovery shall be

served after March 15, 2019.

       D.      Expert Discovery

       Plaintiffs shall identify their expert(s) in support of their claims, if any (including the

disclosure of previous testimony and publications required by Fed. R. Civ. P. 26(a)(2)(B)(iv)-

(v)), by February 1, 2019.

       Defendants shall identify their expert(s) in support of their defenses, if any (including the

disclosure of previous testimony and publications required by Fed. R. Civ. P. 26(a)(2)(B)(iv)-

(v)), by February 22, 2019.

       The parties shall serve expert reports, if required, pursuant to Fed. R. Civ. P. 26(a)(2)(B)

by March 15, 2019.

       Rebuttal expert reports, if any, shall be served by April 12, 2019.

       Expert discovery will be completed by April 26, 2019.

       E.      Dispositive Motions

       Temporary Protected Status (“TPS”) for the three countries at issue in this action will

expire on the following dates:

                             Haiti              July 22, 2019
                             El Salvador        September 9, 2019
                             Honduras           January 5, 2020




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       In accordance with the above scheduling items, the parties expect to complete discovery

in advance of these dates in order to proceed with summary judgment motions, or, if necessary,

for Plaintiffs to seek provisional relief to enjoin the effective date of the TPS terminations. The

parties therefore request that the Court set a briefing schedule and hearing date for their

anticipated dispositive motions and/or Plaintiffs’ motion for preliminary injunction sufficiently

in advance of the first TPS termination date, July 22, 2019, to allow for sufficient time for either

party to seek appellate review.

       The parties respectfully propose the following schedule:

               Plaintiffs’ Motion for Preliminary Injunction or Motion for Summary Judgment to
               be filed by May 3, 2019

               Defendants’ Opposition Brief to Motion for Preliminary Injunction or Cross-
               Motion for Summary Judgment and Opposition Brief to Motion for Summary
               Judgment to be filed by May 17, 2019

               Plaintiffs’ Reply Brief in Support of Motion for Preliminary Injunction or
               Opposition Brief to Cross-Motion for Summary Judgment and Reply Brief in
               Support of Motion for Summary Judgment to be filed by May 27, 2019

               Defendants’ Reply Brief in Support of Cross-Motion for Summary Judgment, if
               applicable, to be filed by June 5, 2019

               Hearing on or about June 14, 2019

       As the case may be resolved on cross-motions for summary judgment, the parties suggest

that the Court defer scheduling a pretrial conference or trial dates at this time. The parties

likewise suggest that the Court defer scheduling a settlement conference.

II.    Other Discovery Matters

       A.      Phased Discovery

       The parties do not seek to phase discovery at this time.




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       B.       Discovery Event Limitations

       The parties currently do not anticipate seeking discovery events beyond the limitations

set forth in Local Rule 26.1(c).

       C.       Confidentiality and Protective Order

       The parties agree to negotiate a confidentiality agreement and proposed protective order

for entry by this Court.

       Subject to the Court’s approval, in their initial conversations the parties have stipulated

that phone numbers, email addresses, and addresses contained in documents produced during

discovery will be redacted if publicly filed as an exhibit to a motion or other document or

otherwise disseminated. The parties reserve their right to redact purely personal contact

information to the extent such information appears in any documents produced in discovery.

III.   Settlement Proposals

       Plaintiffs served their settlement proposal to counsel for Defendants on August 28, 2018.

Defendants will consider the proposal and will state their position on the proposal at the

September 7, 2018, scheduling conference, consistent with the requirements of Local

Rule 16.1(c).

IV.    Trial by Magistrate Judge

       The parties do not consent to trial by a Magistrate Judge.

V.     Concise Summary of the Parties’ Positions

       A.       Concise Summary of the Plaintiffs’ Position

       Plaintiffs seek injunctive and declaratory relief from Defendants to remedy the deficient

review process that resulted in the terminations of TPS designations for El Salvador, Haiti, and

Honduras, removing the TPS protection for well over 400,000 individuals currently residing in

the United States. Prior to the current administration, officials evaluating whether or not to


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extend TPS designations consistently accounted for intervening, subsequent natural disasters and

corresponding economic and governmental instability, even though such conditions may have

arose after the initial TPS designations. Defendants have instead adopted an artificially

constrained view of the TPS statute to determine whether designations should be extended or

terminated. Specifically, Defendants review a given country’s conditions only with respect to

the original disaster or other condition that gave rise to the initial designation. The imposition of

this new rule has in turn translated to the terminations of TPS designations for each of El

Salvador, Haiti, and Honduras.

       Defendants’ conduct violates the equal protection and due process guarantees of the Fifth

Amendment of the Constitution because the terminations were motivated by intentional

discrimination based on race, ethnicity, or national origin. In addition, Defendants’ imposition

of a new rule limiting the application of the TPS protection is both arbitrary and capricious and

was undertaken without the observance of procedural requirements of the Administrative

Procedure Act (the “APA”).

       Plaintiffs seek a declaratory judgment that Defendants’ TPS terminations for El Salvador,

Haiti, and Honduras were contrary to law and should be set aside. In addition, Plaintiffs seek to

enjoin Defendants from violating the Constitution, the APA, and the TPS statute with respect to

subsequent evaluations of TPS designations of El Salvador, Haiti, and Honduras. Plaintiffs

further seek an award of attorneys’ fees and costs, as well as any other additional relief that the

Court may deem proper.

       B.      Concise Summary of the Defendants’ Position

       In 8 U.S.C. § 1254a, Congress authorized the Secretary of Homeland Security, in her

judgment based on her factual findings and in consultation with other agencies, to designate, re-

designate, extend, or terminate a country’s designation for TPS. Defendants disagree that the


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TPS determinations challenged in this lawsuit were substantively or procedurally deficient or

otherwise unlawful. Rather, former Acting Secretary of Homeland Security Elaine Duke

terminated TPS for Haiti, and Secretary of Homeland Security Kirstjen Nielsen terminated TPS

for El Salvador and Honduras, after finding that conditions in these countries no longer satisfied

the statutory criteria for this temporary humanitarian relief. The Secretaries’ decisions, set forth

in Federal Register notices, are eminently reasonable in light of the facts on which those

decisions were based, as reflected in the notices and in the administrative records (which

Defendants are voluntarily producing to Plaintiffs in advance of the September 7, 2018,

scheduling conference).

       As Defendants argued at the pleading stage, Congress has foreclosed judicial review of

TPS determinations altogether. 8 U.S.C. § 1254a(b)(5)(A). And the APA likewise has

foreclosed judicial review where “statutes preclude judicial review.” 5 U.S.C. § 701(a)(1). To

the extent the Court continues to hold that review is available, such review should be highly

deferential given both Congress’s plain intent to vest TPS decisions in the judgment of the

Secretary of Homeland Security and the Supreme Court’s admonition in a series of cases, most

recently Trump v. Hawaii, 138 S. Ct. 2392 (2018), that immigration actions by the Executive

branch are typically reviewed at most for a rational basis. The decisions at issue easily pass

muster in light of the Federal Register notices and the administrative records.

       Defendants reject Plaintiffs’ contention that Defendants have “adopted an artificially

constrained view of the TPS statute” or have imposed a “new rule” that considers only the

“original disaster or other condition that gave rise to the initial designation.” While the

Secretaries certainly considered the original designating conditions in making their TPS

determinations—as the TPS statute requires—the Federal Register notices and the administrative




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records reflect that the Secretaries were thoroughly informed about and took account of current

country conditions, as Secretaries in each successive Administration have done since the TPS

statute was enacted nearly thirty years ago.

       Defendants respectfully disagree that Plaintiffs are entitled to the requested equitable

relief or any relief whatsoever. Defendants urge the Court to dismiss this action either for lack of

subject-matter jurisdiction or with prejudice on its merits.

VI.    Certifications

       Counsel for each party will separately file their Local Rule 16.1(d)(3) certification.

VII.   Additional Items to Be Discussed at the September 7, 2018 Scheduling Conference

       A.      Scope of Discovery

       Defendants produced the administrative records concerning the terminations of TPS for

El Salvador and Haiti on August 24, 2018, and Defendants have agreed to produce the

administrative record concerning the termination of TPS for Honduras on August 31, 2018.

       Defendants maintain that, to the extent the Court reviews the challenged TPS

determinations at all, any such review should be confined to the administrative records, as

required by the APA. See Florida Power & Light Co. v. Lorion, 470 U.S. 729 (1985) (“[T]he

focal point for judicial review should be the administrative record already in existence, not some

new record made initially in the reviewing court.” (alteration in original) (citation omitted)). The

fact that Plaintiffs bring constitutional claims as well as APA arbitrary-and-capricious and

notice-and-comment claims does not alter the scope of review. See Chiayu Chang v. USCIS, 254

F. Supp. 3d 160, 162 (D.D.C. 2017) (“To . . . allow fresh discovery . . . would incentivize every

unsuccessful party to agency action to allege . . . constitutional violations in order to trade in the

APA’s restrictive procedures for the more evenhanded ones of the Federal Rules of Civil

Procedure.” (citations and internal quotation marks omitted)). While in rare cases parties may


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seek record supplementation where there is a strong showing of bad faith by the agency or an

incomplete record, Defendants submit that Plaintiffs have made no such showing here.

       Plaintiffs dispute Defendants’ assertion. Plaintiffs are in the process of reviewing the

Defendants’ production, and Plaintiffs anticipate that they will seek discovery beyond the

administrative record. Briefly, Plaintiffs’ challenge extends beyond the specific TPS

terminations to the Defendants’ imposition of a new rule in violation of the Constitution, the

APA, and the TPS statute itself, therefore requiring discovery of information beyond the

administrative records.

       This is a threshold issue with respect to the parties’ discovery obligations, and the parties

therefore seek guidance with respect to how this issue should be presented to the Court at the

earliest opportunity.




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Respectfully Submitted,


CENTRO PRESENTE, a membership                    DONALD J. TRUMP, President of the United
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By their attorneys,                              By their attorneys,

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Date: August 31, 2018




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                                                   /s/ Natalia Smychkovich




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